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  EXHIBIT 1
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 FD-1057 (Rev. 5-8-10)



                            FEDERAL BUREAU OF INVESTIGATION
                                               Eleotronlc Communication


             Title:       11111111     Cl osing Communication                 Date:     01/04/2017

             From:       WASHINGTON FIELD

                            Contact:     BARNETT WILL I AM J JR,

             Approved By: Joe Pientka III

             Drafted By: BARNETT WILL IAM J JR

             Case ID#:                                           CROSSFIRE RAZOR
                                                     FOREIGN AGENTS REGI~.TRATION ACT -
                                                     RUSSIA;
                                                    .pENSITIVE I NVE~TIGATIVE MATTER

            Synopsis :                  To document the dl'osing of capti oned case .
                                                             :!




            Details:

                                The FBI opene~ captioned,,case based on an art iculable
                                that CRQSSFIRE 'RAZOR (CR) may wi tt i ngl y or unwittingly be
            involved in activity on behalt'"of .the Russian Federation which may
                                              ~;   '''
            cons ti tute·;··a ,£ederal crime or threat t o the national security. The FBI
            predicated the , investigation on predet ermined criteria set forth by the
            CROSSFIRE HURRIC~E (CH) i nv~st i gati ve team based on a n assessment o f
            reliable l ead infdrmation
                                     ' ,:t
                                            received during the course of the
            investigat i on. Specifi cally, CR was cited as an adviser to t hen
            Re publican preside nt ia l · candidate DONALD J. TRUMP for foreign policy
            issues since February 2016; CR had ties to various state-affiliated
            entities o f the Russ i a n Federat i on, as reported by open source
            i nformati on ; and CR traveled to Russia in December 2015, as reported by
            open source information. Additionally, CR has an active TS/SCI
            clearance.




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                     The goal of the investigation was to determine whether
      the captioned subject, associated with the Trump campaign, was directed
      and control led by and/or coordinated activities wtth ' the Russian
      Federation in a manner which is a threat to the n~tional security
      and/or possibly a violation of the Foreign AgentsRegistrat ion Act, 18
      U. S . C sect i on 951 et seq, or other related st~tutes.

                     Followin g the initiation of captioned case,: the CH Team
      conducted a check of logical databases .for any derogatory i ,nformation
      on CROSSFIRE RAZOR. No derogatory information was identified in FBI
      holdings.

                                    '
                               requested th.at




                 The .    f ound
      CROSSFIRE RAZOR .

         -       In .,a ddition to -        ' the FBI requested that -
      conduct a search .<;?f it s ·qol~ings fof a p y derogatory information on
      CROSSFIRE RAZOR. No derogat9ry i nformation was reported back to the
      FBI.
                                   l     '
                     The CH inv~stigat i,:,-e ; team also addressed this
      investigat ion through CHS reporting CROSSFIRE RAZOR for any derogatory
      or lead infor:mat., 'i on. As such
                                       '
                                         CH contacted an established FBI CHS to
      query about CR . During the debr i efing the CHS rela ed an incidents/he
      witnessed when CROSS ~IRE:~ZOR (CR) spoke at the                   in the
                      The CHS, was unsure of the date, but noted that
      CROSSFIRE RAZOR was still in his/her position within the USIC.
      [Writer's note: per open source, CR spoke at                  on
                    The CHS advised that after CR spoke and socialized with
                                 at dinner and over drinks, members of     111111
                        a cab to take CR to the train stat i on to bring



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      him/her t                    The CHS stated that a
                                                          and joined CR on t he train
                                                          was somewhat. suspi c i ous o f
                                   been affi l iated with several prominent members of
                               The CHS believes that             father may be a Russian
      Oligarch                                  CHS cou                further
      information on                             trip .

                     The CH investigat ive team checked           name through
      available FBI dat abases for any derogatory information with . negative
      results. A formal                                    as submitted to -           for
      any derogatory informati on. -                 report~fl no ct,ei ogatory information
      in its holdings.

           11111111
                 Analysis                                                This analysis
      utilized records                                                   as well as  11111
      and -   records.                                                         the FBI
      initiated

      if there was contact between him and CROSSFIRE RAZOR .
                                           :~.:- "
      between the two indiv~duals wa ~,. observed,J?Y the surveillance teams
      covering the .event.

           -          In addi t i'.on




                           ;
                    Following the c;:qmpilation of the above information, the CH
      t eam determined t hat CR().$SFIRE RAZOR was no longer a viable candidate
      as part ~                             SFIRE HURRICANE umbrella case . A review of
      logical l l l l l l l l l l l l l l l databases did not yield any information on
      which to predicat e fur t her inves t igative e f forts. Whi le a CHS provided
      some information on CR ' s interaction with ~                  the absence of
      der ogatory information on llll limited the invest i gat i ve va l ue o f the
      information . The writer notes that since CROSSFIRE RAZOR was not
      specificall y named as an agent of a foreign power by the original



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      CROSSFIRE HURRICANE predicated reporting, the absence of any derogatory
      information or lead information from t hese logical sources reduced the
      number of i nvestigat i ve avenues and techni ques to pursue. Per the
      direction of FBI management, CROSSFIRE RAZOR was not 'i nterviewed as
      part of the case closing procedure .

        -        The FBI is closing this investigat~.o n . If 9ew information is
      identified or reported to t he FBI regardin9"the activitLes of CROSSFIRE
      RAZOR, the FBI will consider reopening the investigationr.Jf warranted .




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